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                                   MCKOOL SMITH
                                     HENNIGAN
Kirk D. Dillman                          300 South Grand Avenue
Direct Dial: (213) 694-1101                    Suite 2900                      Telephone: (213) 694-1200
kdillman@mckoolsmithhennigan.com          Los Angeles, CA 90071                Telecopier: (213) 694-1234


                                           March 26, 2020



Hon. Joseph Spero
San Francisco Courthouse, Courtroom F
450 Golden Gate Avenue
San Francisco, CA 94102

          RE:      SC Innovations Inc. v. Uber Technologies Inc., 3:18-cv-07440-JCS

Dear Judge Spero:

       Pursuant to this Court’s Standing Order, I am writing to provide notice that Lewis
LeClair and Kirk Dillman will appear telephonically for the April 3, 2020 hearing in this matter
on defendants’ Motion to Dismiss Second Amended Complaint.


                                                   Regards,

                                                   Kirk D. Dillman
                                                   KIRK D. DILLMAN
KDD:




                                           McKool Smith
                                   A Professional Corporation • Attorneys
            Austin | Dallas | Houston | Los Angeles | Marshall | New York | Washington, DC

4820-9312-6584
